Case 6:23-cv-06025-FPG-MWP Document 15-5 Filed 04/04/23 Page 1 of1
Revised 05/01 WDNY CERTIFCATE OF SERVICE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

| eta ft lee

 

 

 

 

Plaintiff(s), CERTIFICATE OF SERVICE
v. (61 23 cv-0b08S-F%-mujp
NANG Mesa etal
Defendant(s).
— a.
I, (print your name) LE Cb Lce , served a copy of the attached papers

(state the name of your papers) Wot we OF OFPP SIT
2\Choss Morton Sltmmagy SVUdGgmMENT
BY AFEADAVIT Goa Suampmy! JUBGmEaT
“AY Mem id2Zeansum oF Law in Supemt of Smmrny Tb 1.
7 ij 7 5 v 7 t u~
——unon all other parties in this case
by mailing | FA NTY | by hand-delivering| | (check the method you

used)

these documents to the following persons (dist the names and addresses of the people you
served)

 

 

 

(Ws. GwU2zARBETH MCNAMARA, ES Q
DAMS ww \ QartT Teemewe LLe :
Bes Avenue oF Ameicas Ql
NEw vote’ _NGr Voted 10026 7”
624 24’ -BayG

 

 

 

on (date service was made) Opn TyXd 2S

I declare under penalty of perjury that the foregoing is true and correct, to the best of my

 

 

knowledge, information and belief. 2
Executed on L Wp vw “4 j v3 <p pies KG
(date) < DN uf (your signature)

4
